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[]5 JUH -'] PH 3: 26 UNITED STATES DISTRlCT COURT

WESTERN DISTRICT OF TENNESSEE f;f-_;;_:-, -_-; .;._
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Plaintiff 'DAT;-¢L_

v. CIVIL NO. 04-2261 DP
UNITED STATES POSTAL SERVICE and

JOHN E. POTTER, Postmaster General,
Defendants

 

UNOPPOSED MOTION SEEKING AN EXTENSION OF T[ME TO FILE
RESPONSIVE PLEADING TO THE AMENDED COMPLAINT AND
MEMORANDUM IN SUPPORT OF MOTION

 

The Det`endants, United States Postal Service and John E. Potter, move the Court for an
order granting the Defendants an extension oftime to file a responsive pleading to the Plaintiff`s
Amended Cornplaint until April 25, 2005.

In support oftheir motion the Det`endants would show the Court that on March l 1, 2005,
the Plaintit`ff`iled an unopposed motion to amend his complaint to added allegations regarding
Plaintif`i"s claims in administrative complaints which have only recently been administratively
concluded by final agency decision. The Court granted the Plaintiff`s motion, and an order was
entered on March 15, 2005. While a copy ofthe amended complaint accompanied the motion
seeking permission to amend, the amended complaint has not been served on the Defendants
pursuant to F.R.C.P. 5 following entry ofthe order authorizing the filing ofthe amended
complaint However, because service of the complaint could be deemed effectuated upon entry
ofthe order on March 15, 2005, the defendants’ last day to timely respond could be as soon as
March 31, 2005.

Furthennore, and without regard to whether the amended complaint has been properly

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Tl.is document entered on the docket sheet in compliance
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with Re!e 58 and/or 79(a) FRCF' on_l.|__l..b_(?=§_ ; .- /
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serviced on the Det`endants, the Defendants need additional time to analyze the new allegations

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The undersigned attorney has consulted with the attorney for the Plaintiff and has been
advised that the Plaintiff does not oppose the relief sought herein.
Respectfully submitted,

TERRELL L. HARRIS
United States Attomey

By: , €GM//l_ ,d `lé@.¢£I/)g_/
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CERT[FICATE OF SERVICE

liminin culli:y iiiaL l ildvc bClVCLl ii L'U
pre-paid on this the 215t day ofl\/[arch 2005,
239 Adams Avenue, Memphis, TN 38103

py oi`tne foregoing pleading by ttrst class postage
on counsel for the Plaintiff, Mr. John Hershberger,

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Gary A. V{}iasek `

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 iii
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June 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

